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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA,

       v.                                                     Case No.:      3:19cr113/MCR

KADEEM INGRAM and
KENNETH INGRAM
                                              /

                                             ORDER

       This matter is before the Court on separate motions to suppress filed by

Defendants Kadeem and Kenneth Ingram.1 See ECF Nos. 182, 183. An evidentiary

hearing was conducted on October 15, 2020. Having fully considered the evidence,

the applicable law, and the parties’ written and oral arguments, the Court finds that

both motions are due to be denied.




       1
          Defendant Kenneth Ingram is Defendant Kadeem Ingram’s father. The Ingrams, along
with three additional co-defendants, are charged in a nine-count indictment with various drug
trafficking offenses. More specifically, both Ingrams are charged with one count of conspiring to
distribute and possess with intent to distribute 500 grams or more of cocaine and 28 grams or more
of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii), and 841(b)(1)(B)(iii); and
one count of possessing with intent to distribute 500 grams or more of cocaine, in violation of 21
U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(ii). Kadeem Ingram is also charged with two counts of
distributing cocaine and cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).
Co-defendants Terrell Burdette, Sidney McGhee, and Francis Muldowney are also charged with a
drug trafficking conspiracy. See Indictment, ECF No. 3. In addition, Burdette is charged with
five counts of distributing cocaine and crack. See id. The three co-defendants have all pled guilty.
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I.     Factual Findings 2

       In January 2019, the Drug Enforcement Agency (“DEA”) and the Walton

County Sheriff’s Office Narcotics Unit (“Sheriff’s Office”), together, began

investigating a drug trafficking network operating in and around Walton County,

Florida. Through a combination of confidential informants, controlled purchases,

physical and video surveillance, and telephone toll records analysis, Kadeem and

Kenneth Ingram were identified as members of that network.                       During the

investigation, the DEA obtained court-authorization to intercept wire and electronic

communications for Kadeem Ingram’s two cell phones, as well as the phones’ GPS

and location data, and also for co-defendant Terrell Burdette’s cell phone. Among

the hundreds of calls and texts intercepted to and from those phones were numerous

conversations in which Kadeem and Kenneth Ingram, and others, discussed drug

trafficking activities. See, e.g., Gov. Exh. 1-4. The interceptions, surveillance, and

geolocation data also revealed that, every two to four weeks, the Ingrams were

renting a vehicle from Enterprise Rent-A-Car in Crestview, Florida, traveling in the

rental vehicle to Miami, Florida, and returning with kilogram quantities of cocaine,

which they then distributed in and around Walton County.3 The Ingrams made this

trip on six separate occasions between March 7, 2019 and July 13, 2019.

       2
         The following findings of fact are based on the undisputed evidence presented at the
suppression hearing.
       3
           Kenneth Ingram rented the vehicle. Kadeem Ingram drove the vehicle.


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       On July 10, 2019, a series of intercepted telephone calls and texts revealed

that the Ingrams were planning to rent another vehicle, pack some clothes, gather

the money to “re-up” their supply of cocaine, travel to Miami to obtain the cocaine,

and return with it to DeFuniak Springs, Florida.4 That same day, law enforcement

observed the Ingrams enter the Enterprise Rent-A-Car in Crestview, rent a white

Toyota Camry with Colorado tags and, thereafter, travel east on Interstate 10. In the

early morning hours of July 11, 2019, geolocation data for Kadeem Ingram’s phone

established that the phone had travelled via Interstate 10 from DeFuniak Springs to

the Miami area, where it remained for the next two days.

       Mid-morning on July 13, 2019, geolocation data for Kadeem Ingram’s phone

showed the phone travelling north from Miami on Interstate 75, and then west along

Interstate 10 towards DeFuniak Springs.             Around that same time, the DEA

intercepted text messages from Kadeem Ingram’s phone in which he told his

girlfriend that he was headed back to Walton County. Based on this information,

members of the DEA and the Sheriff’s Office—including DEA Special Agent Kevin

Miller, and Sheriff’s Deputies Damon Byrd and Steven Tector, both of whom were

canine units—established surveillance on Highway 81 and along Interstate 10 from

the Gadsden County Rest Area to DeFuniak Springs.                    All members of the



       4
         According to Special Agent Kevin Miller, the term “re-up” refers to obtaining a fresh
supply of cocaine.


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surveillance team were told that the vehicle would be driven by Kadeem Ingram and

was believed to be carrying a substantial amount of cocaine.

      During the surveillance, Special Agent Miller observed the white, rental

Camry with Colorado plates travelling on Interstate 10. Kadeem Ingram was driving

the vehicle and Kenneth Ingram was seated in the front passenger seat. Special

Agent Miller radioed this information to the other members of the surveillance team,

including Deputy Byrd, and directed them to follow the vehicle, find a valid legal

traffic violation, initiate a traffic stop, conduct a dog sniff and, if the dog alerted, to

search the Ingrams’ vehicle.

       Around 6:50 p.m., Deputy Byrd saw the Ingram’s Camry cross the Walton

County line on Interstate 10 and, thereafter, the deputy fell in behind the vehicle and

monitored its speed with his radar. Just after Deputy Byrd’s radar clocked the

vehicle’s speed at 83 mph in a 70 mph zone, he observed the vehicle abruptly change

lanes and cut off another car. He immediately activated his emergency lights and

sirens to initiate a traffic stop. The Camry complied and pulled to a stop on the right

shoulder of the roadway. Deputy Byrd then radioed dispatch with the stop location,

type of vehicle, and number of vehicle occupants. The other members of the

surveillance team could hear Deputy’s Byrd’s radio call and Deputy Tector

responded that he was en route to provide back up.




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       Deputy Byrd approached the Ingrams’ vehicle, advised the two occupants of

the reasons for the stop, and obtained their driver’s licenses and a copy of the car

rental agreement. He then returned to his vehicle and began checking the validity of

the licenses and rental agreement through dispatch. While Deputy Byrd awaited a

response from dispatch, he saw Deputy Tector arrive on scene and ask the Ingrams

to exit their vehicle. Both Ingrams complied. However, according to Deputy Byrd,

Kadeem Ingram “clinch[ed] his jaw” and “flared his chest” in a “very aggressive”

manner while doing so. Based on his law enforcement experience, Deputy Byrd

“firmly believe[d]” this behavior indicated Kadeem Ingram was preparing to “either

run or fight with Deputy Tector.” Deputy Byrd thus exited his vehicle and stood

with the Ingrams for officer safety while Deputy Tector conducted the dog sniff. At

this point, the Ingrams were not handcuffed and dispatch had not yet reported back

on the validity of driver’s license and vehicle information.

       Deputy Tector then performed a free air dog sniff around the exterior of the

Ingram’s vehicle using his assigned canine, after which, he advised Deputy Byrd

that the dog alerted to the presence of illegal narcotics. 5 Both of the Ingrams became

“very upset” and began yelling that the dog did not alert to their vehicle. Deputy


       5
          Deputy Tector did not testify at the evidentiary hearing. Instead, Deputy Byrd—who did
not personally observe the dog’s alert—testified about what Deputy Tector told him. See United
States v. Raddatz, 447 U.S. 667, 679 (1980) (“At a suppression hearing, the court may rely on
hearsay and other evidence, even though that evidence would not be admissible at trial.”); United
States v. Franklin, 284 F. App’x 701, 703 (11th Cir. 2008) (same).


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Byrd then read the Miranda warnings to the Ingrams, although they did not

acknowledge the warnings because they were still insisting the dog did not alert.

During or after the dog’s alert, dispatch informed Deputy Byrd that the Ingrams’

license and vehicle information were valid. Deputy Tector searched the vehicle and

found $4,003 in loose currency inside the center console, and 1.715 kilograms (3.77

lbs.) of powder cocaine in a duffle bag in the trunk. The Ingrams were then placed

in handcuffs and arrested. They now seek to suppress the cocaine found in their

vehicle.

II.    Discussion

       Kenneth and Kadeem Ingram have moved, pursuant to Federal Rule of

Criminal Procedure 12(b)(3), for suppression of evidence and statements obtained

by law enforcement during and after a traffic stop that resulted in their arrests in this

case. See ECF Nos. 182, 183. More specifically, the Ingrams argue that law

enforcement unconstitutionally extended the scope and duration of the traffic stop,

without reasonable suspicion of criminal activity, by ordering them out of their

vehicle and conducting a dog sniff. 6 Kenneth Ingram also argues the traffic stop was




       6
         In their briefs, the Ingrams added that their being placed in handcuffs somehow extended
the scope and duration of the traffic stop. However, Deputy Byrd testified that the Ingrams were
not handcuffed until after the cocaine was discovered in their vehicle and they were formally
arrested. There is no evidence to the contrary. Accordingly, any suggestion that handcuffing
unlawfully prolonged the stop is moot.


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unlawful at its inception because there was no legal basis for it, and that the dog did

not alert to the Ingrams’ car.

      A.     Lawfulness of the Traffic Stop

      The Court first addresses the lawfulness of the traffic stop at its inception.

Traffic stops are seizures under the Fourth Amendment, Delaware v. Prouse, 440

U.S. 648, 653 (1979), and are constitutionally reasonable only when supported by

either probable cause to believe a traffic violation has occurred or reasonable

suspicion of criminal activity, see United States v. Harris, 526 F.3d 1334, 1337 (11th

Cir. 2008). An officer’s underlying “motive in making the traffic stop does not

invalidate what is otherwise objectively justifiable behavior under the Fourth

Amendment.” See United States v. Simmons, 172 F.3d 775, 778 (11th Cir. 1999)

(quoting Whren v. United States, 517 U.S. 806, 812 (1999)).

      In this case, Deputy Byrd had probable cause to stop the Ingrams’ vehicle for

speeding because he personally observed the vehicle traveling on Interstate 10 in a

posted 70 mph zone and, at the time, his radar device measured the vehicle’s speed

at 83 mph. See United States v. Cooper, 133 F.3d 1394, 1398 (11th Cir. 1998)

(“[L]aw enforcement may stop a vehicle when there is probable cause to believe that

the driver is violating any one of the multitude of applicable traffic . . . regulations

relating to the operation of motor vehicles.”) (internal marks omitted). The deputy’s

subjective motivations for finding a reason to stop the vehicle are legally irrelevant.



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See Whren, 517 U.S. at 812; Simmons, 172 F.3d at 778. Because Deputy Byrd

stopped the Ingram’s vehicle only after having probable cause to believe that the

driver had committed the traffic violation of speeding, the traffic stop was lawful

under the Fourth Amendment.7

       B.      Scope and Duration of the Traffic Stop

       The Court next considers whether law enforcement unconstitutionally

extended the scope and duration of the traffic stop by ordering the Ingrams out of

their vehicle, conducting a dog sniff and handcuffing them. “[T]he duration of [a]

traffic stop must be limited to the time necessary to effectuate the purpose of the

stop.” United States v. Purcell, 236 F.3d 1274, 1277 (11th Cir. 2001). Generally,

this means that a stop based on a traffic violation “may not last any longer than

necessary to process the . . . violation.”8 Id. (internal marks omitted). However, an

officer may prolong a traffic stop for a reasonable amount of time beyond that which

is necessary to process the traffic violation “if he has articulable suspicion of other


       7
          For the reasons stated in Section B(2)(b) of this Order, the collective knowledge of the
law enforcement officers involved in this operation also provided reasonable suspicion that the
Ingrams were illegally transporting cocaine at the time, which provided an independent
constitutional basis for the traffic stop in this case. See United States v. Harris, 526 F.3d 1334,
1337 (11th Cir. 2008) (investigatory stops permissible on “reasonable suspicion of criminal
activity”).
       8
         Tasks related to processing a traffic violation include “checking the driver’s license,
determining whether there are outstanding warrants against the driver, and inspecting the
automobile’s registration and proof of insurance.” Rodriguez v. United States, 575 U.S. 348, 354
(2015). Similarly, in the interest of the officer’s safety, officers may prolong a traffic stop while
awaiting the results of a criminal history check that is part of their routine traffic investigation.
United States v. Purcell, 236 F.3d 1274, 1278 (11th Cir. 2001).


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illegal activity.” United States v. Boyce, 351 F.3d 1102, 1106 (11th Cir. 2003). In

those circumstances, the continued detention may last only as long as is reasonably

necessary for the officer to “pursue[] a means of investigation likely to” confirm or

dispel his suspicions about the criminal activity. United States v. Street, 472 F.3d

1298, 1306 (11th Cir. 2006).

             1.    Ordering the Ingrams Out of the Vehicle

      There was no Fourth Amendment violation when Deputy Tector required the

Ingrams to exit their vehicle. During a lawful traffic stop, officers may take steps

that are reasonably necessary to protect their personal safety, including—"as a

matter of course”—requiring a driver and passenger to exit the vehicle. Maryland

v. Wilson, 519 U.S. 408, 415 (1997); United States v. Gibbs, 917 F.3d 1289, 1295

(11th Cir. 2019). Doing so does not prolong the stop; instead, it is part of the stop.

             2.    The Dog Sniff

      Finally, the dog sniff in this case did not unlawfully prolong the traffic stop.

A traffic stop “is unlawfully prolonged when an officer, without reasonable

suspicion, diverts from the stop's purpose and adds time to the stop in order to

investigate other crimes.” United States v. Campbell, 970 F.3d 1342, 1355 (11th

Cir. 2020). “That is, to unlawfully prolong, the officer must (1) conduct an unrelated

inquiry aimed at investigating other crimes (2) that adds time to the stop (3) without




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reasonable suspicion.” Id. Here, only the second and third requirements are at

issue. 9

                       a.      Time Added to the Stop

       Absent reasonable suspicion of other criminal activity, a traffic stop may “last

no longer than is necessary to process the traffic violation.” Purcell, 236 F.3d at

1277. In other words, the officer’s “[a]uthority for the seizure . . . ends when tasks

tied to the traffic infraction are—or reasonably should have been—completed.”

Rodriguez v. United States, 575 U.S. 348, 354 (2015); Campbell, 970 F.3d at 1352.

“Prolonging” the stop means any extension of time, no matter how small. Campbell,

970 F.3d at 1354 (stating that it does not matter whether a stop is prolonged by eight

minutes, or thirty seconds, because “the Supreme Court was clear that the length of

time is immaterial”).10

       Here, the evidence establishes that the dog sniff did not add time to the traffic

stop. Deputy Byrd performed the inquiries necessary to process the traffic violation,

including verifying the validity of the Ingrams’ vehicle and driver’s licenses by radio


       9
          It is undisputed that using a dog to search for contraband (i.e., a dog sniff) is not a task
that can be “fairly characterized as part of [an] officer’s traffic mission.” See Rodriguez, 575 U.S.
348, 349, 356; Campbell, 970 F.3d at 1352. Rather, a dog sniff is a police inquiry “aimed at
detecting evidence of ordinary criminal wrongdoing.” Rodriguez, 575 U.S. at 356; Campbell, 970
F.3d at 1352.
       10
          At one time, the Eleventh Circuit recognized a de minimis exception of sorts—where
prolonging a stop was unlawful only if the stop was prolonged unreasonably. See Campbell, 970
F.3d at 1353-54 (citing United States v. Griffin, 696 F.3d 1354 (11th Cir. 2012)). The Supreme
Court rejected both the reasonableness standard and the de minimis rule in Rodriguez. See id.


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through dispatch. It took approximately 10 to 15 minutes for dispatch to advise

Deputy Byrd that the vehicle and driver’s licenses were valid. In that time, Deputy

Tector conducted the dog sniff. There is no evidence that the Ingrams were detained

beyond the time that the tasks tied to the traffic infraction would have otherwise been

concluded had the dog sniff not occurred. To the contrary, because there were two

deputies present on the scene, one of them was able to conduct an unrelated criminal

inquiry without adding time to the stop. The Court thus finds the dog sniff did not

unlawfully prolong the traffic stop.

                    b.    Reasonable Suspicion of Other Criminal Activity

      Even if the deputies had prolonged the traffic stop in order to conduct the dog

sniff, the additional detention was supported by a reasonable suspicion of criminal

activity. An officer may prolong a traffic stop for a reasonable amount of time

beyond that which is necessary to process a traffic violation if he has reasonable and

articulable suspicion of other illegal activity. Boyce, 351 F.3d at 1106. In those

circumstances, the continued detention may last only as long as is reasonably

necessary for the officer to “pursue[] a means of investigation likely to” confirm or

dispel his suspicions about the criminal activity. Street, 472 F.3d at 1306.

      Reasonable suspicion exists when an officer “ha[s] a particularized and

objective basis for suspecting the person stopped of criminal activity.” Campbell,

912 F.3d at 1349. To determine whether a suspicion is reasonable, courts evaluate



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the “totality of the circumstances surrounding the stop, including the collective

knowledge of all officers involved in the stop,” United States v. Bishop, 940 F.3d

1242, 1249 (11th Cir. 2019), so long as the officers “maintained at least a minimal

level of communication during their” operation, United States v. Willis, 759 F.2d

1486, 1494 (11th Cir. 1985). The officers with the actual knowledge giving rise to

reasonable suspicions need not have communicated that knowledge to the detaining

officer for the collective knowledge doctrine to apply. United States v. Kapperman,

764 F.2d 786, 791 n.5 (11th Cir. 1985). The “minimal communication” requirement

is met where law enforcement officers are functioning as a team and one officer asks

or instructs another officer to take some action. See United States v. Cotton, 721

F.2d 350, 351-52 (11th Cir. 1983), abrogated on other grounds by Batson v.

Kentucky, 476 U.S. 79 (1986).

      Under the totality of the circumstances here, the Court concludes that

reasonable suspicion would have justified extending the stop and conducting the dog

sniff. The traffic stop was the culmination of the DEA and Sheriff’s Office’s

months-long joint investigation into the Ingrams’ drug trafficking activities in

Walton County. Based on all of the evidence collected during that time, the

investigators had an objectively reasonable basis for believing that the Ingrams

frequently rented cars and made trips to Miami to obtain kilogram quantities of

cocaine from a supplier located there, and that they—and others—distributed that



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cocaine in the Walton County area.         Through geolocation, wire and physical

surveillance, investigators also had sufficient reason to believe that the Ingrams’ trip

to Miami on July 10, 2019 likewise was for the purpose of obtaining a fresh supply

of cocaine for distribution in and around Walton County.

      On July 13, 2019, the DEA coordinated physical surveillance of the Ingram’s

rental vehicle on Interstate 10 with the Sheriff’s Office prior to the traffic stop,

communicated with the Sheriff’s Office during the stop, and directed the deputies to

stop the Ingram’s vehicle if it a traffic violation occurred. Deputy Byrd did not know

the details of the joint investigation; however, the DEA and Sheriff’s Office

investigators told him the Ingram’s vehicle may be carrying a substantial amount of

cocaine and he knew in advance that his role in the operation was to stop the vehicle

if he observed a traffic violation. Moreover, he communicated with the DEA and

Sheriff’s Office investigators by radio before, during and after the traffic stop.

Consequently, the collective knowledge of all the law enforcement officers involved

in the operation is considered in determining whether there was reasonable suspicion

to extend the traffic stop. See, e.g., United States v. Marsh, 663 F. App’x 888, 893

(11th Cir. 2016) (applying collective knowledge doctrine where arresting officer did

not have all the knowledge forming the basis for probable cause but was in radio

communication with DEA agents who did have sufficient knowledge); Kapperman,

764 F.2d 786, 795 n.5 (11th Cir. 1985) (same). Here, the collective knowledge of



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the DEA agents, Sheriff’s Office investigators and Deputy Byrd is more than

sufficient to establish “a particularized and objective basis for suspecting” the

Ingrams were transporting cocaine at the time of the traffic stop. See Campbell, 912

F.3d at 1349. Consequently, the Court finds the deputies had reasonable suspicion

that criminal activity was afoot and were justified in briefly extending the traffic stop

while conducting a dog sniff to confirm or dispel that suspicion. Thus, duration of

the traffic stop was well within the bounds of the Fourth Amendment.

      C.     Reliability of the Canine Sniff

      In his motion, Kenneth Ingram only argued that Deputy Tector’s dog did not

actually alert to the presence of narcotics in the Ingram’s vehicle. However, at the

suppression hearing, he offered no evidence about the dog or the circumstances

surrounding the alert. Consequently, the Government’s evidence—i.e., that Deputy

Tector’s drug-detection dog positively alerted to the Ingram’s vehicle—stands

uncontested. In other words, there is no evidence that the dog did not alert.

      Briefly, it is well-established that an alert by a trained and certified drug-

detection dog may provide probable cause for a search. Florida v. Harris, 568 U.S.

237, 247-48 (2013); United States v. Tamari, 454 F.3d 1259, 1265 (11th Cir. 2006)

(“[P]robable cause arises when a drug-trained canine alerts to drugs.”). Absent

evidence to the contrary, courts may “presume” that the dog’s alert is reliable where

the dog’s reliability is formally certified by a “bona fide” organization, or where he



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“has recently and successfully completed a training program that evaluated his

proficiency in locating drugs.” See Harris, 568 U.S. at 247; United States v.

Burrows, 564 F. App’x 486, 492 (11th Cir. 2014). A defendant must have the

opportunity to challenge the reliability of the dog overall or of a particular alert by

cross-examining a testifying officer, showing that the standards of the dog’s

certification or training program are too lax, examining the dog and handler’s history

in the field, or identifying unique circumstances about a particular alert that would

damage its reliability. Harris, 568 U.S. at 247; United States v. Rodriguez, 762 F.

App’x 938, 942 (11th Cir. 2019). If the government’s evidence is uncontested, a

court should find the dog’s alert reliable. Id. at 248.

       Here, the uncontested evidence establishes that a certified drug-detection dog

positively alerted to the Ingram’s vehicle. Kenneth Ingram has offered no evidence

or even argument that the dog was inadequately trained, that Deputy Tector cued or

otherwise manipulated the dog into an alert, or that other circumstances negated the

reliability of the dog’s alert. On this record, the Court thus proceeds with the

presumption that the dog’s positive alert was reliable and provided probable cause

to search the vehicle.




III.   Conclusion



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      Based on the foregoing, the Court concludes that no Fourth Amendment

violations occurred in this case because: (1) the traffic stop was justified at its

inception based on probable cause to believe the Ingrams’ vehicle had committed a

traffic violation and reasonable suspicion that the vehicle was transporting illegal

narcotics; (2) requiring the Ingrams to exit their vehicle was within the scope of the

traffic stop; (3) the dog sniff did not unconstitutionally prolong the stop; (4) even if

the dog sniff had prolonged the stop, the additional time was justified by reasonable

suspicion that the Ingrams were transporting cocaine; and (5) the dog’s positive alert

to the presence of narcotics in the Ingrams’ vehicle was reliable and provided

probable cause to search the vehicle. Accordingly, the Motions to Suppress, ECF

Nos. 182 and 183, are DENIED.

      DONE AND ORDERED, on this 19th day of October, 2020.


                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




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